             Case 2:19-cv-00239-GMS Document 11 Filed 04/09/19 Page 1 of 2



1    LAW OFFICES OF THOMAS M. CONNELLY
2
     Thomas M. Connelly (Az. Bar. No. 012987)
     2425 East Camelback Road, Suite 880
3    Phoenix, Arizona 85016
4
     Phone: (602) 957-1993
     Facsimile: (602) 957-2137
5    Tconnelly2425@aol.com
6
     LAW OFFICES OF THOMAS J. MARLOWE
7    Thomas J. Marlowe (Az. Bar No. 016640)
     2425 East Camelback Road, Suite 880
8
     Phoenix, Arizona 85016
9    Phone: (602) 957-1993
     Facsimile: (602) 957-2137
10
     Tmarlowe2425@outlook.com
11
     Attorneys for Bardwell Defendants
12

13                       IN THE UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF ARIZONA
15

16   Ronald H. Pratte,                               Case No.: 2: 19-cv-00239-PHX-GMS

17                Plaintiff,
18                                                    NOTICE OF CHANGE OF E-MAIL
     vs.
                                                        ADDRESS FOR DEFENANT’S
19                                                    COUNSEL, THOMAS J. MARLOWE
     Jeffrey Bardwell and Fanny F. Bardwell,
20   husband and wife,
21
                  Defendants.
22
           Undersigned counsel, Thomas J. Marlowe, hereby provides formal notice of his
23

24   change of e-mail address pursuant to Local Rule of Civil Procedure, 83.3(d).
25         Counsel’s correct and new e-mail address is: tmarlowe2425@outlook.com.
26
     Respectfully submitted this 9th day of April, 2019.
27

28




                                                 1
             Case 2:19-cv-00239-GMS Document 11 Filed 04/09/19 Page 2 of 2



1                                          By: /s/ Thomas J. Marlowe
2
                                               LAW OFFICES OF THOMAS J. MARLOWE
                                               Thomas J. Marlowe
3                                              2425 East Camelback Road, Suite 880
4
                                               Phoenix, Arizona 85016
                                               Phone: (602) 957-1993
5                                              Tmarlowe2425@outlook.com
6
                                 CERTIFICATE OF SERVICE
7
            I, Thomas J. Marlowe, hereby certify that on April 9, I electronically transmitted the
8

9    foregoing document to the Clerk’s Office using the ECF system for filing and transmittal
10
     of a Notice of Electronic Filing to the following ECF registrant(s) in this case.
11
     By: /s/ Thomas J. Marlowe
12

13   Gregory B. Collins
     Zachary R. Fort
14   Kercsmar & Feltus PLLC
15
     7150 E. Camelback Road, Ste. 285
     Scottsdale, Arizona 85251
16   gbc@kflawaz.com
17
     zrf@kflawaz.com

18

19

20

21

22

23

24

25

26

27

28




                                                   2
